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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 7
    Phoeno Wine Company, Inc., et al.,1                           Case No. 23-10554 (KBO)

                                Debtor.                           (Jointly Administered)



                                NOTICE OF APPEARANCE AND REQUEST
                                FOR SERVICE OF NOTICES AND PAPERS

             PLEASE TAKE NOTICE that pursuant to 11 U.S.C. § 1109(b) and rules 2002, 3017,

9007 and 9010 of the Federal Rules of Bankruptcy Procedure (collectively, the “Rules”), DLA

Piper LLP (US) hereby enters its appearance in the above-referenced chapter 7 cases as counsel to

creditor TriplePoint Private Venture Credit, Inc. (“TriplePoint”). The undersigned respectfully

request that all notices given or required to be given in this case, and all papers served or required

to be served in this case, be given to and served upon the following:

                                        Kaitlin W. MacKenzie (DE 5924)
                                        DLA PIPER LLP (US)
                                        1201 North Market Street, Suite 2100
                                        Wilmington, Delaware 19801
                                        Telephone:     (302) 468-5700
                                        Email: kaitlin.mackenzie@us.dlapiper.com

                                        - and -

                                        Eric D. Goldberg
                                        DLA PIPER LLP (US)
                                        2000 Avenue of the Stars
                                        Suite 400 North Tower
                                        Los Angeles, California 90067
                                        Telephone:     (310) 595-3000
                                        Email: eric.goldberg@us.dlapiper.com




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             The Debtors in these cases, along with the last four digits of their federal tax identification numbers, are:
             Phoeno Wine Company, Inc. (5273) and Underground Enterprises, Inc. d/b/a Underground Cellar (7930).
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       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Service of Notices and Papers is not only for the notices and other documents referred to in the

Rules specified above but includes, without limitation, all orders, notices, applications, motions,

petitions, schedules of assets and liabilities, statements of financial affairs, pleadings, requests,

complaints or demands, whether formal or informal, whether written or oral, and whether

transmitted or conveyed by mail, courier service, hand-delivery, telephone, facsimile transmission,

email or otherwise.

       PLEASE TAKE FURTHER NOTICE that TriplePoint does not intend this Notice of

Appearance and Request for Service of Notices and Papers or any later appearance, pleading, proof

of claim, claim or suit be deemed or construed to be a waiver of (1) the right to have final orders

entered only after de novo review by a District Judge, (2) the right to trial by jury in any proceeding

so triable in these cases or any case, controversy or proceeding related to these cases, (3) the right

to have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal, (4) any objection to the jurisdiction of this Bankruptcy Court for any

purpose other than with respect to this notice, or (5) any other rights, claims, actions, defenses,

setoffs, or recoupments to which TriplePoint is or may be entitled, in law or in equity, all of which

rights, claims, actions, defenses, setoffs and recoupments TriplePoint expressly reserves.

TriplePoint’s rights are reserved and preserved, without exception and without confessing or

conceding jurisdiction in any way by this filing or by any other participation in this case.

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Dated:    June 27, 2023              DLA PIPER LLP (US)


                                     By: /s/ Kaitlin W. MacKenzie
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                                     - and -

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                                     Counsel for TriplePoint Private Venture Credit, Inc.




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, on this 27th day of June 2023, a true and correct copy of the

foregoing Notice of Appearance and Request for Service of Notices and Papers was served on all

parties registered to receive electronic notice of filings in this case via the Court’s CM/ECF

notification system.

                                            /s/ Kaitlin W. MacKenzie
                                           Kaitlin W. MacKenzie (DE 5924)




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